      Case 3:18-cv-00138-DPJ-FKB Document 234 Filed 06/23/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

ANDREW DOE                                                                        PLAINTIFF

V.                                                CIVIL ACTION NO. 3:18-CV-138-DPJ-FKB

STATE OF MISSISSIPPI; THE UNIVERSITY OF
MISSISSIPPI; STATE INSTITUTIONS OF HIGHER
LEARNING (“IHL”), ET AL.                                                       DEFENDANTS

                    DEFENDANTS’ REBUTTAL SUPPORT OF THEIR
                    SUPPLEMENTAL SUMMARY JUDGMENT BRIEF

        Defendants have already addressed the relevant authorities and Plaintiff’s arguments in

their Supplemental Brief [Doc. 230] and their Response to Plaintiff’s Supplemental Brief [Doc.

232]. Defendants stand on their prior arguments and incorporate them by reference into this

rebuttal.

        Dated June 23, 2023.

                                             Respectfully submitted,

                                             STATE OF MISSISSIPPI; THE UNIVERSITY OF
                                             MISSISSIPPI; STATE INSTITUTIONS OF HIGHER
                                             LEARNING (“IHL”); THE BOARD OF TRUSTEES
                                             OF STATE INSTITUTIONS OF HIGHER LEARNING;
                                             C.D. SMITH, JR.; SHANE HOOPER; TOM DUFF; DR.
                                             FORD DYE; ANN H. LAMAR; DR. ALFRED E.
                                             MCNAIR, JR.; CHIP MORGAN; HAL PARKER;
                                             ALAN W. PERRY; CHRISTY PICKERING; DR. DOUG
                                             ROUSE; DR. J. WALT STARR; GLENN F. BOYCE;
                                             JEFFREY S. VITTER

                                             /s/ Paul B. Watkins, Jr.
                                             J. CAL MAYO, JR. (MB NO. 8492)
                                             PAUL B. WATKINS, JR. (MB NO. 102348)
                                             J. ANDREW MAULDIN (MB NO. 104227)
                                             ATTORNEYS FOR DEFENDANTS
     Case 3:18-cv-00138-DPJ-FKB Document 234 Filed 06/23/23 Page 2 of 2




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